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United States v. Ari Elias Baum

14-CR-164-WMS-JJM

DEFENDANT'S
EXHIBIT A

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PR. BRUCE BAUM, ED.D.

247 OLD OAK POST ROAD
EAST AMHERST, NEW YORK 14057
(716) 880-6299
HUMORCONNECTION@MSN,.COM

~ Honorable William M, Skretny
United States District Judge -

c/o Brian P. Comerford

Assistant Federal Public Defender
300 Pearl Street, Suite 200
Buffalo, New York 14202

Dear Judge Skretny

lam Ari’s father. There was a Buffalo News article recently that referred to me as his
Step Father. This is not true. I was present at Children’s Hospital at the time of his
birth. Although not his biological father, | am his legal father and { raised him. |
retired about seven years ago from Buffalo State College where | was a professor in
the Exceptional Education Department for 38 years.

Ari has made contributions to the betterment of the Buffalo Community., While a
senior in high school he participated as a part of his schooling as a volunteer at
Roswell Park Cancer Institute and assisted the Buffalo Police Department in
implementing what was then the “DARE” program at several Buffalo Schools.

Ari was raised in the Jewish faith and had a Bar Mitzvah but as a young adult he
decided to convert to Islam. | believe that this decision has helped him in that he
tries his best to adhere to the positive principles of the religion. He has traveled to
several Moslem countries but NEVER has been involved in any activities that were
counter to the principles of the religion or any activities that would not be in the
best interests of the United States. I have frequently asked him why it seems it is
people who are Moslem who perpetrate random acts of violence against others. He
replies that they can’t really be true Moslems if they commit such acts.

As a child he received positive principles of living from his mother, who holds a
Master’s in Social Work and practiced as a social worker during his upbringing, and
myself. For instance, on more than one occasion he found items of value in our
Allentown neighborhood, We would be sure that he did everything possible to find
the proper owners which was done with success on more than one occasion.

He was fortunate to be accepted into the Bennett Park Montessori School in Buffalo
at an early age. This public school, that actively promoted peace and cooperation,
exposed him to a diverse group of students and he was able to form friendships,
some of which still exist today. As a child he participated in-the Delaware Park
Soccer Program which also taught him principles of cooperation. As a teenager he

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participated, through the Davinci High School Program, in the West Side Rowing
Club that also taught the benefits of individual and group effort. Also, during high
school, he worked for about a year at a deli near the corner of Elmwood and North
Streets, The owner was well known as a “difficult” character in that he insisted on
no cell phones by patrons and had other unusual “quirks.” The fact that Ari could
successfully work in such an environment for over a year is a tribute to his flexibility
and self-esteem.

Ari is a generous person arid will go out of his way to help friends and family. I see
him and communicate with him regularly and he always asks if there is anything he
can do for me. He has been under federal parole supervision for several years and,
to my knowledge, has checked with his parole officer as directed, participated in
mental health counseling and not violated the parole. |

Ari is basically a decent person who intends no harm and is trying his best to live a
fulfilling and peaceful life. I am hopeful, as you consider his sentencing, that you

keep these facts in mind.

Thank you for allowing me to share these remarks.

R: Bruce Baum
Father -

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United States vy, Ari Elias Baum

14-CR-164-WMS-JJM

DEFENDANT'S
EXHIBIT B
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1240 Delaware Avenue #412
Buffalo, New York 14209
October 29, 2017

Re: Ari Elias Baum

Honorable William M. Skretny
United States District Judge

c/o Brian P. Comerford

Assistant Federal Public Defender
300 Pearl Street, Suite 200
Buffalo, New York 14202

Dear Honorable William M. Skretny:

| am writing to you on behalf of Ari Baum who will come before you on November
45,2017 for sentencing after a three and one half year legai-process. | am Ari’s mother.
1am also a clinical social worker with over forty years experience working In the field.
Fifteen years of my work was interfacing with Family Court as the District Supervisor of
Berkshire Farm Center and Services for Youth, a child care agency.

Ari was first taken to a child psychologist by his father and me at the age of four. His
first psychiatric hospitalization was at the ége of eight when we took him on the advice
of his psychologist to the Menniger Clinic in Topeka, Kansas. While at the age of eight
they were able to identify mast of his psychiatric issues, a diagnosis of Bipolar Disorder
wouid not come for a few years.

Ari and we struggled throughout his childhood, adolescence, and young adulthood.
Despite this he was never in trouble with the law nor was he ever even suspended from
schoo!. He was born and raised Jewish and became a Bar Mitzvah at the age of
thirteen.

Ari continued to struggle as an adult. Still in his early twenties he converted to Islam.
While this was not something that'| had ever envisioned nor wanted | slowly began to
see the effects of his beliefs and prayer or. Ari. He became abie to empathize with
others, especially children. He volunteered to teach Sunday School. He became more
loving and helpful. He developed an unshakeable moral code which includes not
stealing nor committing fraud. The structure of his beliefs helped him learn to contro!
facets of himself that had been out-of contro! due io his mental illness. While basically
living in poverty Ari regularly spends what little money he has io buy me fiowers just to
make me happy and to honor me as his mother. He has atoned for hurtful deeds
committed primarily when manic. Basically Ari has become a better man. He is now
engaged to be married.

Ari now knows that what he did was wrong. | still believe that his intent was not to
commit fraud but rather he believed that when he returned to the United States the
money from Social Security that he had spent would gradually be taken out of his future
checks as it had been done before. This was deniat and arrogance on his part. | offer
this not as an excuse but rather an explanation. These are hallmark symptoms of
bipolar disorder. .

For three and one half years he has been under the Court's supervision and he has not

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been violated once. He has been unable to leave Erie County. He never drinks afcoho!
nor uses drugs. He has, as you know, been investigated for years by the F.B.1. for
possible links to terrorism to no avail. Despite the lack of any misdeeds regarding this
he and his family have suffered through three articles in the Buffalo News about these
unfounded suspicions.
Having now been convicted a felon Aris life is severely affected. | won't delineate these
ways as Your Honor is well aware of the restrictions placed on a convicted felon. He
suffers at having been convicted of a crime which is an abhorrence to him. He would
rather give someone the shirt off of his back than steal. It is the antithesis of who he is
. and what he believes.

~ With regard to his sentencing | am begging Your Honor for leniency and mercy. Ari is
already suffering for what he did. He poses no risk to the community. The lessons to
be learned through incarceration have already been learned. On a very personal level |
plead for mercy for myself. Ari's sister, who also is diagnosed with Bipolar Disorder,
hung herself when in jail for an accumulation of traffic violations. She was found not
breathing but with a thready pulse. She spent eight days in intensive care and has
lasting memory issues. She believes that with his mental health issues Ari is less able
than she was to psychologicatly handle prison. | will live in fear throughout any
incarceration of Ari. . . .
Thank you for your kind and learned consideration of this matter. We remain at Your

Honor’s mercy.

Sincerely,

